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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


  ALAN GRAYSON,

                     Plaintiff,

  v.                                          Case No: 6:20-cv-1824-PGB-LHP

  NO LABELS, INC., PROGRESS
  TOMORROW, INC., UNITED
  TOGETHER, INC., NANCY
  JACOBSON, MARK PENN and
  JOHN DOES,

                     Defendants.
                                       /

                                      ORDER

        This cause is before the Court on Plaintiff’s Amended Spoliation Motion.

  (Doc. 97 (the “Motion”)). Defendants submitted a response in opposition. (Doc.

  103). Upon consideration, the Motion is due to be denied.

  I.    BACKGROUND

        This litigation began in August 2020 in state court and was removed to this

  Court on October 2, 2020. (Doc. 1). The operative Second Amended Complaint

  alleged three causes of action against Defendants: Defamation—Libel and Slander

  (Count I); Defamation by Implication (Count II); and Civil Conspiracy (Count III).

  (Doc. 35). All three causes of action are predicated on the alleged “negative

  advertising and ‘attack ads’” targeting Plaintiff Alan Grayson, who at the time was

  running for Congress. (Id. ¶¶ 10–39). Plaintiff alleges that Defendants No Labels,
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  Inc., United Together, Inc., Nancy Jacobson, Mark Penn, and John Does used

  Defendant Progress Tomorrow, Inc., to publish the ads via mailings to households

  within the relevant congressional district and to publish internet ads which drove

  readers to www.floridadeservesbetter.org. (Id. ¶¶ 19–38). The allegedly

  defamatory information was published in August 2018, days before the election.

  (Id.).

           The parties submitted a Case Management Report and asked the Court to

  establish September 17, 2021, as the deadline for the completion of discovery. (Doc.

  21). Thereafter, the Court issued a Case Management and Scheduling Order

  (“CMSO”) setting pretrial deadlines, including the December 1, 2021, deadline for

  the close of discovery. (Doc. 22). On December 11, 2020, the Plaintiff served

  separate Requests for Production on the five named Defendants. (Doc. 38-1). The

  following month, Defendants served responses in which they asserted objections,

  (Docs. 38-2, 38-3, 38-4, 38-5, 38-6), and, six months later, Plaintiff filed a Motion

  to Compel (Doc. 38). Because Defendants failed to respond to Plaintiff’s Motion to

  Compel in a timely manner, the United States Magistrate Judge granted it. (Doc.

  39).

           On September 24, 2021, approximately nine weeks before the close of

  discovery, Plaintiff filed a Notice of Intent to Serve 26 subpoenas for documents to

  various non-party vendors. (Doc. 51-1). Each subpoena requested the same

  information, to wit:

                1.    All documents referring or relating to Alan Grayson.




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                 2.     All documents referring or relating to No Labels, Inc.
                        or No Labels.

                 3.     All documents referring or relating to Nancy Jacobson.

                 4.     All documents referring or relating to Mark Penn.

                 5.     All documents referring or relating to Progress
                        Tomorrow, Inc.

                 6.     All documents referring or relating to United Together,
                        Inc.

                 7.     All documents referring or relating to any Primary or
                        General U.S. House of Representatives election in
                        Florida in 2018.

                 8.     All documents referring or relating to any member or
                        former member of Alan Grayson’s family.

                 9.     All documents referring or relating to any entity
                        affiliated with No Labels.

                 10.    All documents referring or relating to Rep. Darren
                        Soto.

                 11.    All documents referring or relating to Margaret White.

  (Doc. 51-2). Defendants filed a Motion for Protective Order (Doc. 51), and the

  Magistrate Judge held Defendants had standing to object and correctly granted the

  Motion for Protective Order.1 (Docs. 55, 58). On November 24, 2021—one week

  before the close of discovery—Plaintiff filed a Motion to Compel Defendants to

  produce documents “in the possession, custody or control of non-party vendors

  employed by the Defendants in their anti-Grayson smear campaign.”2 (Doc. 67).



  1   Defendants also filed a Motion to Compel Discovery, which was granted by the Magistrate
      Judge and affirmed by this Court. (Docs. 50, 58).

  2   Plaintiff argued Defendants had not produced “a single document” regarding the contents and
      traffic statistics of floridadeservesbetter.org; the Pandora and Instagram ads; advertising on
      Facebook, Pandora and Instagram, including targeting information; mailing lists; and USPS



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         “Control” turns on the “right, authority, or practical ability to obtain the

  materials sought on demand,” and the Magistrate Judge found Plaintiff failed to

  demonstrate Defendants exercised the requisite control and, accordingly, denied

  the Motion to Compel. (Doc. 86, pp. 6–7) (quoting Desoto Health & Rehab., L.L.C.

  v. Philadelphia Indem. Ins. Co., No. 2:09-cv-599, 2010 WL 4853891, at *3 (M.D.

  Fla. Nov. 22, 2010)). On November 30, 2021, one day before discovery closed,

  Plaintiff filed a Motion for Extension of Time to Complete Discovery. (Doc. 68).

  The Magistrate Judge denied Plaintiff’s Motion for Extension of Time to Complete

  Discovery, finding Plaintiff had failed to exercise diligence in pursuing discovery.

  (Doc. 81).

         After the close of discovery, Plaintiff filed the instant Amended Spoliation

  Motion. (Doc. 97). Plaintiff contends Defendants, collectively, had a duty to retain

  and “garner” documents relating to the content of the “anti-Grayson” website, the

  targeting of the subject advertisements, the postal service records showing when

  each piece of political mail was received and delivered, and some of their

  communications with vendors. (Id. at pp. 1–2). Plaintiff points to a “Legal Hold”

  letter sent by counsel which “warned the Defendants about their liability for

  defamation, and directed them to retain all relevant information.” (Id. at p. 2).3



      “political mail” confirmations given to Lawton. (Doc. 67, p. 2). However, Plaintiff failed to
      demonstrate that any of the Defendants ever possessed these materials.

  3   The letter written by Plaintiff’s counsel is not in the record. Instead, Plaintiff cites
      correspondence from Defendant Progress Tomorrow, Inc., to non-party vendors in which
      Defendant Progress Tomorrow, Inc., summarizes the letter written by Plaintiff’s counsel.
      (Doc. 91-1). Thus, the record only demonstrates that one Defendant, Progress Tomorrow, Inc.,



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  Plaintiff contends Defendants failed to retain certain information and seeks a

  plethora of sanctions, including an adverse presumption that the “lost”

  information was unfavorable to Defendants because it was false and malicious, a

  directive that bars Defendants from challenging Plaintiff’s damages calculation,

  and an instruction to the jury that “a complete evidentiary record would be

  unfavorable to the Defendants on the issue of malice, and to so instruct the jury.”

  (Id. at pp. 8–9).

  II.      LEGAL STANDARD

           “Spoliation is the destruction or significant alteration of evidence, or the

  failure to preserve property for another’s use as evidence in pending or reasonably

  foreseeable litigation.” Penick v. Harbor Freight Tools, USA, Inc., 481 F. Supp. 3d

  1286, 1291 (S.D. Fla. 2020) (quoting Graff v. Baja Marine Corp., 310 F. App’x 298,

  301 (11th Cir. 2009) (citation omitted)). In a diversity action such as the instant

  case, federal law governs the imposition of spoliation sanctions. See Flury v.

  Daimler Chrysler Corp., 427 F.3d 939, 944 (11th Cir. 2005) (“[W]e conclude that

  federal law governs the imposition of sanctions for failure to preserve evidence in

  a diversity suit.”). Although federal law governs, “the Court may look to state law

  for guidance to the extent that it is consistent with federal law.” Wilson v. Wal-

  Mart Stores, Inc., No. 5:07-cv-394, 2008 WL 4642596, at *2 (M.D. Fla. Oct. 17,

  2008) (footnote omitted).


        received a Legal Hold letter around August 10, 2018, and that Defendant Progress Tomorrow,
        Inc., communicated the contents of the letter to the vendors. (Id.). The lawsuit was filed two
        years later. (Doc. 1).



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         The moving party, here Plaintiff, has the burden of proving “first, that the

  missing evidence existed at one time; second, that the alleged spoliator had a duty

  to preserve the evidence; and third, that the evidence was crucial to the movant

  being able to prove its prima facie case or defense.” Penick, 481 F. Supp. 3d at

  1291–92 (quoting Walter v. Carnival Corp., No. 09-20962-CIV, 2010 WL

  2927962, at *2 (S.D. Fla. July 23, 2010)). “Even when all three elements are

  satisfied, a party’s failure to preserve evidence rises to the level of

  sanctionable spoliation only where the absences of that evidence is predicated on

  bad faith, such as where a party purposely loses or destroys relevant evidence.” Id.

  at 1292 (internal quotations and citations omitted). “Mere negligence is not

  enough” for an adverse inference, as “it does not sustain an inference of

  consciousness of a weak case.” Vick v. Tex. Emp. Comm’n, 514 F.2d 734, 737 (5th

  Cir. 1975); see also In Matter of Complaint of Bos. Boat III, L.L.C., 310 F.R.D. 510,

  516 (S.D. Fla. 2015) (noting that “even grossly negligent conduct would not justify

  [an adverse inference] jury instruction when it is not accompanied by bad faith”).

  III.   DISCUSSION

         A.    Overview of Evidentiary Gaps

         Plaintiff’s Motion rests upon several assumptions which is an inadequate

  foundation for a finding of spoliation and an award of sanctions. Plaintiff is forced

  to rely on assumptions, because Plaintiff failed to pursue non-party subpoenas in

  a timely fashion. It is also noteworthy that Plaintiff does not cite deposition

  testimony from the respective Defendants’ representatives with knowledge of the



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  so-called anti-Grayson campaign, with information that each Defendant was in

  possession of relevant evidence when a duty to preserve arose, or with testimony

  regarding the timing of and reason for the alleged destruction of evidence. The

  Court must therefore assume no such depositions were taken. In short, because of

  missed opportunities, the Plaintiff is compelled to use spoliation as a substitute for

  discovery.

        B.     Plaintiff’s Argument

        Plaintiff contends that because none of the Defendants produced evidence

  identified in his requests for production, they must have (a) had the material at

  some time and (b) failed to preserve or destroyed the evidence in bad faith. (Doc.

  97, pp. 3–4). Plaintiff attempts to justify these assumptions by pointing to a 572-

  page “opposition research” report produced by “the Defendants.” (Id. at p. 4).

  Plaintiff notes that the cover page of the report is missing, and he assumes

  Defendants (presumably acting in concert) removed the cover page to impede

  Plaintiff’s ability to identify and depose the report’s author. (Id.).

        The problems inherent in Plaintiff’s argument are obvious. First, the fact

  that a party fails to produce a document identified in a request for production is

  not evidence the witness was ever in possession of the document. Absent evidence

  that each Defendant possessed the requested documents, one cannot make the

  analytical leap that each Defendant also had a duty to retain or preserve the




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  record.4 Similarly, the fact that an opposition research report was produced by “the

  Defendants” does not mean they altered it.5 Plaintiff assumes Defendants removed

  the cover page and asks the Court to join in that assumption, which it will not do.

         Next, Plaintiff observes that “the Defendants” obtained and produced

  hundreds of pages of emails from Spiros Consulting, one of the non-party vendors.

  (Id. at p. 5). Plaintiff uses the voluntary document production by Spiros Consulting

  to argue that Defendants’ failure to produce documents in the possession of other

  vendors had not been “similarly cured.” (Id.). That said, the Magistrate Judge

  found, and this Court agreed,6 that Plaintiff failed to establish Defendants had

  control over the vendors and, therefore, that Defendants could not be compelled

  to obtain documents from the vendors. (Docs. 86, 117). Simply put, Defendants

  had nothing to cure, assuming the requested documents resided with non-party

  vendors.

         Plaintiff further argues that the production of emails between Spiros

  Consulting and “the Defendants” which were not produced by Defendants proves

  Defendants used auto-delete in their email system. (Doc. 97, pp. 5–6). Again,


  4   Plaintiff suggests Defendants had a duty to garner documents—not just preserve them. (Doc.
      97, pp. 3–4). The doctrine of spoliation does not impose a duty to “garner” evidence. The
      doctrine addresses the consequences of failing to preserve evidence which one possessed, had
      a duty to preserve, and destroyed or altered in bad faith. Even assuming each Defendant had
      a duty to preserve evidence, they must have possessed the evidence to preserve it.

  5   While the Plaintiff seeks sanctions against every Defendant for spoliation, he fails to specify
      what each Defendant supposedly did to warrant sanctions, choosing to lump them together in
      the collective “Defendants.”

  6   In fairness to Plaintiff, this Court’s Order overruling Plaintiff’s Objection to the Magistrate
      Judge’s ruling was entered after the Motion for Spoliation.



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  Plaintiff’s liberal practice of lumping the individual Defendants together is

  unhelpful. Plaintiff relies on a transcript of a hearing held in New York state court

  on December 6, 2018, where Defendant No Labels, Inc., was a named defendant.

  (Doc. 97-7, p. 14). During the hearing, an attorney argued that Defendant No

  Labels, Inc., has an email address used in connection with its business and that

  emails are automatically deleted after six months. (Id. at 13:1–6). The attorney’s

  proffer is hearsay, and it is unclear if the email address referred to in that hearing

  is the same email address used by Defendant No Labels, Inc., in this litigation.

  What is clear, however, is the attorney’s hearsay statement is limited to Defendant

  No Labels, Inc., and not “the Defendants.”

         Assuming Defendant No Labels, Inc., had an auto-delete setting that deleted

  emails after six months, and further assuming Defendant No Labels, Inc.,

  anticipated litigation as of August 8, 2018, when bulldog compliance forwarded

  Plaintiff’s cease and desist letter, the duty to preserve evidence would not apply to

  emails deleted prior to that date. The focus of this analysis must be limited to

  documents deleted—hypothetically—after August 8, 2018. Plaintiff does not

  specify any crucial email destroyed by Defendant No Labels, Inc., after this date,

  preferring to couch the issue in generalities.7 Nor has Plaintiff demonstrated that

  Defendant No Labels, Inc., acted in bad faith by destroying (auto-deleting) the

  unspecified emails. Regardless, if Plaintiff has obtained the desired evidence from



  7   In fact, the Plaintiff characterizes the Spiros Consulting emails as being helpful to the defense.
      (Doc. 97, p. 5).



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  a third party (Spiros Consulting), there is no impediment to proving his case and

  no reason for sanctions.8 See Miles v. United States, No. 3:14CV360, 2016 WL

  3556845, at *3 (N.D. Fla. Mar. 30, 2016) (“[T]he fact that plaintiff cannot obtain

  the information from the source she deems—albeit without a persuasive fact

  showing—most advantageous does not give rise to a spoliation claim.”)

         Here, Plaintiff has failed to demonstrate that each Defendant was in

  possession of evidence, had a duty to preserve the evidence at the time of

  possession, that the evidence was crucial to Plaintiff’s claims, or that it was

  destroyed or altered in bad faith. The Court cannot impose severe sanctions with

  hardly a showing of smoke, let alone fire.

  IV.    CONCLUSION

         For these reasons, the Plaintiff’s Amended Spoliation Motion (Doc. 97) is

  DENIED.

         DONE AND ORDERED in Orlando, Florida on April 11, 2022.




  Copies furnished to:

  8   Plaintiff suggests that if Defendant No Labels, Inc., failed to produce emails from Spiros
      Consulting, they may have similarly failed to produce emails from other vendors. (Doc. 97, p.
      6). Had Plaintiff deposed the vendors, or Defendants, he could have inquired about the nature
      and timing of email communications, rather than speculating that emails were sent to
      Defendant No Labels, Inc., from the vendors after August 8, 2018.



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  Counsel of Record
  Unrepresented Parties




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